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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


RAYMOND PICKNEY,                       §      NO. 4:18cv4545
DAVID FREZEL, AND                      §
OTIS THOMPSON                          §
                                       §
             Plaintiffs                §      JURY DEMANDED
                                       §
v.                                     §
                                       §
DIAMOND OFFSHORE                       §
DRILLING, INC.; DIAMOND                §
OFFSHORE SERVICES                      §
LIMITED                                §
                                       §
             Defendants                §


     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ FIRST MOTION TO COMPEL
                              DISCOVERY

        Plaintiffs, Raymond Pickney, David Frezel and Otis Thompson, file this Response

to Diamond’s First Motion To Compel Discovery and respectfully assert as follows:

I. INTRODUCTION

        After stonewalling Plaintiffs’ discovery requests seeking to uncover—and, in fact,

uncovering—Diamond’s pattern/practice of race discrimination against them and other

African-American Safety Representatives, Diamond now attempts to exact revenge

against them by burdening them and this Court with a 29 page motion to compel

(“Motion”) designed to force them to produce documents and information they have

already produced; they do not have; are irrelevant; and/or not discoverable. For these
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reasons and those detailed below, Diamond’s discovery vendetta should be denied.

II. RELEVANT FACTS

      Diamond has—once again—selectively and distortedly presented the facts bearing

on this latest discovery dispute. Following is a complete rendition:

      A. Pickney’s Responses to Diamond’s Interrogatories/Document
         Requests

      1. On January 25, 2019, Diamond served Pickney with its First Set of Requests

for Production, First Set of Interrogatories, and First Set of Requests for Admission.

      2. On February 28, 2019, Pickney—pursuant to the parties’ agreement—timely

served Diamond with his responses to its Requests for Production and Requests for

Admission. Contemporaneously, Pickney produced 433 responsive documents.

      3. Because of a clerical error, Pickney’s response to Diamond’s Interrogatories

failed to transmit on February 28, 2019. Upon discovering that error the following day

(March 1, 2019), Pickney’s undersigned counsel immediately transmitted Pickney’s

Interrogatory response to Diamond. See Exhibit A.

      4. Because of this transmission error, Diamond—which has stonewalled (and

continues to stonewall) Plaintiffs’ document requests for months—now argues that

Pickney “waived” all objections to its Interrogatories. See Dkt. 80, at 2.

      5. On March 18, 2019, Diamond requested that Pickney supplement his response


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to its Interrogatories and Requests for Production. See Exhibit B. In response, Pickney’s

counsel agreed to supplement Pickney’s response to Diamond’s Interrogatories and

production requests by April 8, 2019. Id.

      6. On April 8, 2019, Pickney informally supplemented his response to Diamond’s

Interrogatories and production requests. See Exhibit C (4/8/19 Newar email to

Bremenstul).

      7. On July 9, 2019—that is, almost three (3) months later—Diamond notified

Pickney that it was unsatisfied with Pickney’s April 8th response and demanded that

Pickney supplement his responses a second time.

      8. Accordingly, on July 22, 2019, Pickney tendered additional supplemental

responses to Diamond’s Interrogatory and production requests. See Exhibit D.

      9. Between July 22, 2019 and October 9, 2019—that is, for almost three (3)

months—Diamond did not notify Pickney of any alleged additional “deficiencies” in his

responses to its Interrogatories or document requests.

      10. Yet, on October 9, 2019, Diamond resumed hounding Pickney: it again alleged

that Pickney’s discovery responses were deficient and demanded that he cure these

“deficiencies.”

      11. Accordingly, on November 1, 2019, Pickney attempted for a third time to

satisfy Diamond’s concerns. See Exhibit E.

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      12. It is now clear from Diamond’s Motion that the company is insatiable and—

without an order from this Court—will continue to hound Pickney.

      B. Frezel and Thompson’s Responses To Diamond’s Interrogatories
      And Document Requests

      13. Diamond is likewise intent on hounding Frezel and Thompson.

      14. On July 2, 2019, Diamond served Frezel and Thompson with Interrogatories

and Requests for Production.

      15. On August 9, 2019, Frezel and Thompson—pursuant to the parties’

agreement—timely served their responses.

      16. On October 9, 2019—that is, two months later—Diamond claimed, for the

first time, that Frezel and Thompson’s discovery responses were “deficient.”

      17. Accordingly, on November 1, 2019, Frezel and Thompson supplemented their

responses to Diamond’s document requests. See Exhibit E.

      18. On November 7, 2019, Frezel and Thompson supplemented their response to

Diamond’s Interrogatories. See Exhibit F.

      19. Unsated, Diamond filed this Motion on November 19, 2019, seeking to

continue to hound Frezel and Thompson.

      C. Plaintiffs Attempt To Resolve Diamond’s Motion Without
         Inconveniencing This Court

      20. On December 4, 2019, Plaintiffs’ undersigned counsel attempted to resolve

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Diamond’s Motion without embroiling this Court by stating, in relevant part:

            [A]s you presumably recognize from the prior hearings, the
            Magistrate Judge is tiring of the parties’ discovery disputes in
            this case.

            Therefore, I would suggest we try to find a resolution to
            Diamond’s motion to compel and to my clients’ forthcoming
            motion to compel without another hearing.

            To this end, please let me know by the end of this week or early
            next week what documents and/or other information my clients
            have not produced that your clients truly need.

            If the documents/information are truly relevant and my clients
            have them, I’m happy to produce them.

See Exhibit G (12/4/19 email from Scott Newar to Jennifer Anderson)

      21. Unfortunately, Diamond’s counsel failed to respond to Plaintiffs’ counsel’s

December 4, 2019 conference invitation.

III. Argument

      As detailed below, contrary to Diamond’s assertions, Pickney, Frezel, and

Thompson have already produced the documents/information Diamond is seeking; after

diligent searches, they do not have or have not located the requested documents/

information; and/or the requested documents/information are neither relevant nor

discoverable.




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      A.     Diamond’s Requests For Production

      Diamond falsely claims that the Plaintiffs have failed to produce information

responsive to the following production requests:

             REQUEST FOR PRODUCTION NO. 1 (to all Plaintiffs)

             All communications, documents, records, files, and tangible
             evidence, including all electronically stored information, that
             you consulted, referred to, relied upon, listed, quoted,
             summarized, or used to form the basis, in whole or in part, of
             any allegations made or claims asserted in your Complaint.

      Since Plaintiffs’ counsel “consulted,” “referred to,” and “relied upon” various

documents to draft the Complaint(s), Plaintiffs objected to this request because it invades

the attorney work product privilege and attorney/client privileges. Nevertheless, without

waiving these privileges, all three Plaintiffs produced all documents they consulted,

referred to, or relied upon for the allegations in their Complaint. Should Plaintiffs discover

any additional documents responsive to this request, they will timely supplement their

responses in accordance with Fed. R. Civ. P. 26(e).

             REQUEST FOR PRODUCTION NO. 2 (to all Plaintiffs):

             All communications, documents, records, files, and tangible
             evidence, including all electronically stored information, that
             you consulted, referred to, relied upon, listed, quoted,
             summarized, or used to form the basis, in whole or in part, of
             your initial disclosures or responses to any of Diamond
             Offshore’s discovery requests in this matter, including any
             supplements thereto.

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      Since Plaintiffs’ counsel “consulted,” “referred to,” and “relied upon” documents to

draft all of Plaintiffs’ discovery responses, Plaintiffs objected to this request based on the

attorney work product and attorney/client privileges. Nevertheless, without waiving these

privileges, all three Plaintiffs produced all responsive documents they consulted, referred

to, or relied upon for their Initial Disclosures or responses to any of Diamond discovery

requests. Should Plaintiffs discover any additional documents responsive to this request,

they will timely supplement their responses in accordance with Fed. R. Civ. P. 26(e).

             REQUEST FOR PRODUCTION NO. 3 (to all
             Plaintiffs):

             All documents relating to your employment by, and
             your allegations or claims against, Diamond Offshore,
             including personnel file and records, payroll file and
             records, rig information, personnel schedules or
             listings, job or position descriptions, job or position
             openings or vacancies, transfers, reductions in force,
             employee      terminations,   statistical  information
             concerning rig count or personnel actions, policies, and
             procedures.

      Although the verbiage—“relating to your employment…” and “your allegations or

claims against….”—encompasses information that has absolutely no relevance to this

litigation and, therefore, is overbroad, all three Plaintiffs produced all documents they

could locate that are responsive to this request. Should Plaintiffs discover any additional

documents responsive to this request, they will timely supplement their responses in


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accordance with Fed. R. Civ. P. 26(e).

      Still, Diamond whines:

            None of the Plaintiffs produced any personnel file records,
            hiring documents, payroll records, policies/handbooks, or
            termination-related documents they received or collected from
            their employment with Diamond.

See Motion, at 11.

      The reason Plaintiffs have not produced these documents is because—after

conducting a diligent search—they do not have or have not located any. In any event,

there is no legitimate basis for requiring the Plaintiffs to produce these documents when,

in fact, Diamond already has them.

            REQUEST FOR PRODUCTION NO. 4 (to all Plaintiffs)

            All communications, emails, texts, messages, videos,
            recordings, and other documents, including all electronically
            stored information and social media posts, tweets, or replies,
            that reflect or record any conduct, behavior, or statement
            that you contend is discriminatory, retaliatory, otherwise
            unlawful, or that you contend otherwise supports the
            allegations made and claims asserted in your Complaint.

      Again, since the documents that Plaintiffs rely upon for the “allegations made and

claims asserted in [their] Complaint” are based on their counsel’s analysis of Diamond’s

own documents, this request invades the attorney work product privilege and, therefore,

the Plaintiffs objected as much. Without waiving that privilege, all three plaintiffs


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produced all documents that—after a diligent search—they “contend…support the

allegations made and claims asserted in [their] Complaint.” Should Plaintiffs discover any

additional documents responsive to this request, they will timely supplement their

responses in accordance with Fed. R. Civ. P. 26(e).

               REQUEST FOR PRODUCTION NO. 7 (to all Plaintiffs)

               All documents that you contend substantiate or support the
               allegations made and claims asserted in your Complaint,
               including, but not limited to: a. affidavits, declarations, and
               other written or recorded statements from you; b. affidavits,
               declarations, and other written or recorded statements from
               Diamond Offshore’s current or former employees, agents,
               and representatives; c. notes made by you of any
               conversations, or recordings (audio and video) of
               conversations, with Diamond Offshore’s employees, agents,
               and representatives; and d. logs, diaries, calendars, notes,
               records, and other documents made or kept by you that
               memorialize or reflect the way in which you allege you were
               treated unlawfully at Diamond Offshore.

         Plaintiffs incorporate their response to RFP 4 above. Yet, again, without waiving

their attorney work product privilege, all three plaintiffs produced all documents that—

after a diligent search—they “contend…support the allegations made and claims asserted

in [their] Complaint.” Should Plaintiffs discover any additional documents responsive to

this request, they will timely supplement their responses in accordance with Fed. R. Civ. P.

26(e).



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             REQUEST FOR PRODUCTION NO. 8 (to all
             Plaintiffs)

             All documents and tangible items you may introduce
             into evidence in support of your allegations and claims
             at trial or at any other time during this proceeding.

      Plaintiff objected to this request on timeliness grounds because Fed. R. Civ. P.

26(a)(3) and this Court’s docket control order control when and what the parties must

disclose with respect to evidence they “may introduce…at trial…” See Fed. R. Civ. P.

26(a)(3)(B) (“Unless the court orders otherwise, these disclosures must be made at least

30 days before trial.”); Fed. R. Civ. P. 26(a)(3)(iii) (“an identification of each document

or other exhibit, including summaries of other evidence—separately identifying those

items the party expects to offer and those it may offer if the need arises.”).

      Nevertheless, in response to Defendants’ other production requests, all three

Plaintiffs produced all responsive documents that, after diligent searches, they were able to

locate. Should Plaintiffs discover any additional documents responsive to those requests,

they will timely supplement their responses in accordance with Fed. R. Civ. P. 26(e).

             REQUEST FOR PRODUCTION NO. 9

             All documents, records, bills, statements, invoices, and
             accountings relating to attorney fees, paralegal fees,
             and expert witness fees you seek to recover in this
             action, including any fee agreement or arrangement
             between you and such persons.


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      Fed. R. Civ. P. 54(d)(2)(B)(iv) provides that Plaintiffs are only required to

“disclose, if court so orders, the terms of any agreement about fees…” at the time they

file any motion for fees—which motion may not be filed until they “prevail” at trial. See

Fed. R. Civ. P. 54(d)(2)(B)(iv) (emphasis added). In any attorneys’ fee motion, Plaintiffs

must also “state the amount sought…” See Fed. R. Civ. P. 54(d)(2)(B)(iii). Accordingly,

pursuant to Fed. R. Civ. P. 54(d), all three Plaintiffs objected—and continue to object—to

this request “on the ground that Federal Rule of Civil Procedure 54(d)(2) controls the

timing of disclosure of Plaintiff’s attorney’s fees and related documents.”

             REQUEST FOR PRODUCTION NO. 10 (to all Plaintiffs):

             All documents and tangible items provided to or prepared by
             any person you may identify or present as a testifying expert
             in this Action that relate in any way to the claims, defenses,
             facts, or subject matter of this Action, including the expert’s
             curriculum vitae, resume, report, and database of each such
             person.

      Pursuant to Fed. R. Civ. P. 26(a)(2)(D)—which prescribes the timing for disclosing

experts and their reports—Plaintiff objected to this request on the ground that the request

contravenes this Court’s Scheduling Order. See Fed. R. Civ. P. 26(a)(2)(D) (“Time to

Disclose Expert Testimony. A party must make these disclosures at the times and in the

sequence that the court orders…”).

      Again, by the parties’ agreement, Plaintiffs’ expert designations and reports


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reports are not required to be disclosed until late February, 2020 (30 days after

Diamond’s deposition, which is currently scheduled to occur in late January, 2020).

Therefore, pursuant Fed. R. Civ. P. 26(a)(2)(B)(ii), Plaintiffs should not be required to

disclose any expert-related information until that time. See

             REQUEST FOR PRODUCTION NO. 11 (to Pickney):

             All documents, including correspondence and
             electronic mail, you sent to or received from the Equal
             Employment Opportunity Commission (“EEOC”) or
             any other government agency relating to the
             allegations made and claims asserted in your
             Complaint.

      Pickney produced documents responsive to this request (Pickney) 175-196).

      Yet, Diamond now complains that Pickney did not produce:

             his intake questionnaire and any attachments thereto; other
             email communications with the EEOC; the email allegedly
             transmitting the purported rebuttal to the EEOC, as referenced
             in Pickney’s affidavit submitted to the Court (Rec. Doc. 37-1 at
             ¶ 9); the purported evidence of discrimination submitted to the
             EEOC as referenced in Pickney000190 and correspondence
             showing submission of same to the EEOC.

See Motion, at 12.

      Pickney does not have an EEOC intake questionnaire. Pickney has found one

additional email to the EEOC, which is attached as Exhibit H.

      Furthermore, as Diamond well knows, Diamond—like all employers who are


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subject to EEOC Charges—can freely obtain all documents that Pickney tendered to or

received from the EEOC upon request to the EEOC. Since Diamond recently subpoenaed

all three Plaintiffs’ employment records from their current and former employers,

Diamond should notify this Court whether it has already submitted such a free request to

the EEOC and, if so, why it has failed to produce Pickney’s EEOC file to the Plaintiffs.

             REQUEST        FOR     PRODUCTION          NO.    12   (all
             plaintiffs):

             All income tax returns for 2015 and for each successive
             tax year through trial, and a completed and executed
             original IRS Tax Information Authorization Form
             4506 (attached).

      Plaintiffs objected to this request based on “relevance and invasion of privacy”

because, under well-settled case law, Diamond is not entitled to Plaintiffs’ federal

income tax returns. Federal courts have routinely held a plaintiff-employee’s federal

income tax returns are not discoverable, absent the defendants’ demonstration of

“relevance and compelling need.” See Natural Gas Pipeline Co. of Am. v. Energy

Gathering, Inc., 2 F.3d 1397, 1411 (5th Cir. 1993); Gattegno v.

PricewaterhouseCoopers, L.L.P. 204 F.R.D. 233 (D. Conn. 2001); Lemanik v. McKinley

Allsopp, Inc., 125 F.R.D. 602, 609 (S.D.N.Y.1989).

      As the Fifth Circuit made clear in Energy Gathering:

             Income tax returns are highly sensitive documents; courts are
             reluctant to order their routine disclosure as a part of
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             discovery. SEC v. Cymaticolor, 106 F.R.D. 545, 547 (S.D.N.Y.
             1985) (disclosure of tax returns for purposes of discovery
             ordinarily demands that the requesting party demonstrate
             relevancy and compelling need). Not only are the taxpayer's
             privacy concerns at stake, but unanticipated disclosure also
             threatens the effective administration of our federal tax laws
             given the self-reporting, self-assessing character of the income
             tax system.

Energy Gathering, Inc., 2 F.3d 1397, 1411 (5th Cir. 1993) (emphasis
added).

      These courts have required plaintiffs-employees to disclose to employers only

their W-2’s and 1099’s. See Gattegno v. PricewaterhouseCoopers, L.L.P. 204 F.R.D.

233 (D. Conn. 2001); Lemanik v. McKinley Allsopp, Inc., 125 F.R.D. 602, 609

(S.D.N.Y.1989).

       Diamond has not demonstrated and cannot demonstrate any “compelling need”

for Plaintiffs’ federal income tax returns, especially since Plaintiffs have produced their

W-2’s for all post-Diamond employers.

             REQUEST FOR PRODUCTION NO. 13:

             All documents reflecting or relating to any consultation,
             evaluation, assessment, treatment, referral, opinion, or
             communication to or from any physician, medical
             professional,    mental     health    counselor,    therapist,
             psychologist, psychiatrist, social worker, and other health
             care provider of any type identified in response to Diamond
             Offshore’s First Set of Interrogatories, and a completed and
             executed original Medical Records Authorization for each
             such person (attached).

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      Defendants are not entitled to any of Plaintiffs’ medical records. Federal courts

have routinely held that a plaintiff-employee’s medical history/records are highly

confidential and not discoverable, especially where—as here—Plaintiffs seek recovery

only for “garden-variety” mental anguish and emotional distress. See, e.g., Fitzgerald v.

Cassil, No. C-02-3857 EMC, 32, at *12 (N.D. Cal. Jul. 31, 2003); Jackson v. Chubb

Corp., 193 F.R.D. 216 (D.N.J. 2000); Burrell v. Crown Cent. Petroleum, 177 F.R.D. 376,

383 (E.D. Tex. 1997) (noting "tremendous potential for abuse that exists when a

defendant has unfettered access to a plaintiff's medical records"); Dochniak v. Dominium

Management Services, 2006 WL 3156539 at *1 (D. Minn. 2006). Therefore, Plaintiffs

appropriately objected to this request “based on relevance and invasion of privacy.” See

Exhibit I; Exhibit J; Exhibit K.

             REQUEST FOR PRODUCTION NO. 16 (to Thompson)

             All documents that you contend represent any complaints or
             reports of alleged discrimination or other wrongdoing that
             you claim you made to Diamond Offshore’s management or
             human resources personnel.

      Thompson has no documents responsive to this request. However, Diamond has

produced documents that establish that Thompson did complain about his termination. As

a result, Thompson lodged the following objection: “Plaintiff objects because the

requested documents are in the possession and control of Defendants.”


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             REQUEST FOR PRODUCTION NO. 18: All lawsuits,
             charges, administrative complaints, and any other claims for
             redress or damages filed by you or on your behalf, or filed
             against you (including any criminal actions, bankruptcy
             claims, or garnishment proceedings), other than the lawsuit
             relating to your current allegations and claims.

      Plaintiffs objected to this request based on relevance and overbreadth because it

would require Plaintiffs to disclose all “claims” filed by or against them in their entire life.

Diamond claims it is now “willing to limit this request to ten years prior to the filing of

the EEOC charge, for Pickney, and the lawsuit, for Thompson and Frezel.” See Motion,

at 19. Although Plaintiffs contend this modified request is still overbroad, they will

supplement their responses to produce any extant documents in the ten (10) year period

preceding the filing of this lawsuit.

      B.     Diamond’s Interrogatories

      Diamond also claims—falsely—that Plaintiffs have not properly responded to their

following Interrogatories:

             INTERROGATORY NO. 4 (to all Plaintiffs):

             Identify in detail every effort you have made to obtain work
             since January 1, 2015, including but not limited to any job
             postings or advertisements reviewed, job postings or
             advertisements responded to, employment agencies and
             recruiters contacted, internet-based job search or
             networking platforms or other job search services consulted
             or used, cover letters and/or resumes sent, employment
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             applications submitted, employment opportunity inquiries
             made, interviews obtained, and offers of employment
             received.

      All three Plaintiffs have fully responded to this interrogatory. Specifically, Pickney

responding by identifying all of his employers since Diamond terminated him, the dates of

his employment, and his compensation. He also produced approximately 75 pages of

records—including W-2’s from these employers and job application records—related to

his mitigation efforts.

      Frezel likewise responded by identifying all of his employers since Diamond

terminated him, the dates of his employment, and his compensation by these employers.

See Exhibit J. Frezel further stated:

             Additionally, since January 1, 2015, Mr. Frezel actively sought
             substantially equivalent employment, including by regularly
             reviewing job postings on the following websites:
             JobsReport.com;           Beyond.com;            Statwire.com;
             ZipRecruiter.com; Monster.com Jobs; Career Alerter;
             RigZone.com; LENSA Job Alerts; Nexxt Smart Match;
             Indeed.com; Linkedin.com; Shell; Exxon; British Petroleum
             (BP); CareerBuilder Jobs; Geebo.com

Frezel also provided more than fifty (50) documents—including W-2 forms and other

compensation records—related to his mitigation efforts.

      Thompson likewise responded by identifying his only employer since Diamond

terminated him (Claiborne Parish School Board (“CPSB”)), the dates of his employment


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there, and his compensation. Thompson also provided W-2 forms showing his

compensation at CPSB. Thompson further responded:

             [I]n the period from his termination until his employment with
             CPSB, [he] actively searched for applied for, and obtained work
             after Diamond terminated his employment. [His] applications
             included Amerada Hess; Claiborne Parish school district;
             Webster Parish school district; Caddo Parish school district;
             Margaritaville casino; Diamond Jacks casino; Horseshoe
             casino; and Harrah’s casino. Besides Claiborne Parish, [he]
             received no job offers.

See Exhibit K.

      After diligent searches, Plaintiffs have not located any other documents responsive

to Diamond’s mitigation requests (either this Interrogatory or Requests for Production 19

and 20). Should Plaintiffs discover any additional documents responsive to such requests,

they will timely supplement their responses in accordance with Fed. R. Civ. P. 26(e).

             INTERROGATORY NO. 5 (to all Plaintiffs)

             List each instance in which you have been indicted, charged,
             and/or arrested by any state, county, local, or federal
             government court, department, or agency. For each such
             indictment, charge, and/or arrest, state the date, case
             number, and charge number; describe the nature of the
             offense upon which the indictment, charge, and/or arrest was
             based; state the state and county or parish in which the
             indictment, charge, and/or arrest occurred; state the identity
             of the indicting, charging, and/or arresting court,
             department, and/or agency; describe the disposition of the
             indictment, charge, and/or arrest; state the dates over which
             you were incarcerated for any indictment, charge, and/or
             arrest; and describe the conditions of any parole or
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             probation resulting from the indictment, charge, or arrest.

      Because this Interrogatory exceeds the bounds of relevance, all three Plaintiffs

objected to this request based on relevance and overbreadth. Nevertheless, they responded

that they had “not been charged or convicted of any felony or crime of moral turpitude in

the ten (10) year period before [the lawsuit] was filed.” See Exhibit I; Exhibit J; and

Exhibit K. Unfortunately, Defendants remain unsated.

             INTERROGATORY NO. 8 (to all Plaintiffs):

             Identify any witness(es) you intend to call at trial or
             whose testimony you intend to use in any manner,
             including but not limited to in the form of a
             declaration or affidavit, in this Action, and provide a
             summary of the information to which you believe such
             witnesses(es) will testify.

      Pursuant to Fed. R. Civ. P. 26(a)(3)(A)(i)—which controls the timing for the parties

to disclose trial witnesses—Plaintiffs objected to this request. See Fed. R. Civ. P.

26(a)(3)(A)(i) (“In addition to the disclosures required by Rule 26(a)(1) and (2), a party

must provide to the other parties and promptly file the following information about the

evidence that it may present at trial other than solely for impeachment: the name and, if

not previously provided, the address and telephone number of each witness—separately

identifying those the party expects to present and those it may call if the need arises…”).

Under FRCP 26(a)(3)(A)(i), Plaintiffs should not be required to identify any “witness(es)


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[they] intend to call at trial...” until, at most, thirty (30) days before trial. Regardless,

Plaintiffs have identified persons with knowledge of relevant facts. See Exhibits I, J, and

K.

             INTERROGATORY NO. 11 (to all Plaintiffs):

             Identify all cell or mobile phone makes and models,
             phone numbers, email addresses or accounts, and
             social media accounts and associated user names
             belonging to you or that you have used at any time
             since January 1, 2015, to refer to or communicate with
             anyone other than your attorney about facts relating
             to any of the allegations in your Complaint or any way
             in which you were allegedly mistreated or harmed by
             Diamond Offshore.

       This request seeks all telephonic and electronic media devices that Plaintiffs used

“at any time since January 1, 2015, to...communicate…about facts relation got any of the

allegations in [their] Complaint.” In response, all three Plaintiffs disclosed their cell phone

numbers, and Pickney disclosed his email address.

       Diamond now complains that Plaintiffs failed to disclose the “make and model” of

their cell phones. If Defendants can explain how the “make and model” of their cell phones

is somehow relevant, Plaintiffs will gladly provide that information.

       Diamond also claims that Plaintiffs have not produced their social media account

information. However, Plaintiffs did not use any social media accounts

“to...communicate…about facts relating to any of the allegations in [their] Complaint.”

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Therefore, they are not required to disclose any such information to Diamond.

             INTERROGATORY 13:

             Itemize and describe each element of damages sought
             in this Action, including a brief description of the item
             of damage, the total amount claimed, and the method
             or formula used to compute the amount, including the
             time period over which the amount should be
             computed. If the dollar amount of any item of damage
             is not yet known, state the method or formula by
             which you contend such amount should be computed
             (and the time period over which you contend such
             amount should be computed), and describe all
             documents or other information that you claim to need
             in order to be able to complete your damages
             calculation.

      Because Plaintiffs may retain an expert witness to testify about their back pay and

front pay and because the Court’s Scheduling Order—as modified by the parties’

agreement—does not require Plaintiffs to disclose their expert witnesses until late

February, 2020 Plaintiffs objected to this Interrogatory on “timeliness grounds.” See

Exhibit I; Exhibit J; and Exhibit K.

      Nevertheless, consistent with Defendants’ Interrogatory—which specifies that

“[i]f the dollar amount of any item of damage is not yet known…” Plaintiffs could “state

the method or formula by which you contend such amount should be computed (and the

time period over which you contend such amount should be computed),” Plaintiffs

responded that they:

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             seek[] back pay and benefits from the date of termination
             until the date of trial…front pay and benefits for the
             maximum period allowed by law…compensatory and
             punitive damages in the maximum amount allowed by law.
             Plaintiff[] intend[] to conduct discovery regarding and
             tender an expert report calculating [their] back pay and
             benefits and front pay and benefits in accordance with this
             Court’s Docket Control Order.

      In light of the wording of Defendants’ Interrogatory and Plaintiffs’ intent to proffer

expert report(s) in late February, 2020 regarding their back pay and front pay—which

constitute equitable relief, not “damages”—Plaintiffs have tendered all necessary

information at this time. Plaintiffs will supplement this response in late February, 2020

when their economics expert(s) tender(s) his/her expert report(s).

             INTERROGATORY NO. 15:

             Identify every physician, medical professional, mental
             health counselor, therapist, psychologist, psychiatrist,
             social worker, and other health care provider of any
             type, including any clinic, medical group, hospital, or
             other health care facility, other than those already
             identified in response to the preceding interrogatory,
             from whom you have sought or obtained any type of
             evaluation or treatment within the last 15 years.

      Defendants are not entitled to any of Plaintiffs’ medical records—let alone for 15

years in the past. Federal courts have routinely held that a plaintiff-employee’s medical

history/records are highly confidential and not discoverable, especially where—as

here—the plaintiff-employee seeks recovery only for “garden-variety” mental anguish

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and emotional distress. See, e.g., Fitzgerald v. Cassil, No. C-02-3857 EMC, 32, at

*12 (N.D. Cal. Jul. 31, 2003); Jackson v. Chubb Corp., 193 F.R.D. 216 (D.N.J. 2000);

Burrell v. Crown Cent. Petroleum, 177 F.R.D. 376, 383 (E.D. Tex. 1997) (noting

"tremendous potential for abuse that exists when a defendant has unfettered access to a

plaintiff's medical records"); Dochniak v. Dominium Management Services, 2006 WL

3156539 at *1 (D. Minn. 2006). Therefore, Plaintiffs appropriately objected to this

request “based on relevance, overbreadth, and privacy grounds.” See Exhibit I; Exhibit J;

Exhibit K.

             INTERROGATORY NO. 16:

             Identify the data you used to calculate the alleged
             percentages in Paragraphs 7 and 41 of the Complaint,
             including all documents used while calculating those
             percentages, and the source(s) of all such data and
             documents.

      Because Pickney’s counsel—including his first counsel, William Most—performed

the calculations of the lay-off percentages used in Pickney’s Original Complaint and

because Plaintiffs and their counsel used Diamond’s own documents to calculate those

percentages, Plaintiffs objected to this request “based on the attorney work product

privilege and because the data responsive to this request are within Defendants’ custody

and control.” See Exhibit I.

      Plaintiffs subsequently filed a Third Amended Complaint that—relying on more

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complete data produced by Diamond in response to Plaintiffs’ document requests—re-

calculates the lay-off percentages. Therefore, the data contained in the Original Complaint

is now obsolete.

      More importantly, Plaintiffs have retained a statistical expert, Dr. Shirlene Pearson,

who, pursuant to Fed. R. Civ. P. 26(a)(2)(B), will tender an expert report in late February,

2020 chronicling Diamond’s statistically disparate treatment of African-American Safety

Representatives vis a vis white Safety Representatives. Under Fed. R. Civ. P.

26(a)(2)(B)(ii), Dr. Pearson is required to and will disclose the “facts or data” she uses in

rendering these calculations. See Fed. R. Civ. P. 26(a)(2)(B)(ii). Once Dr. Pearson tenders

her expert report, Plaintiffs will supplement their responses to this Interrogatory to

incorporate Dr. Pearson’s calculations and the “facts or data” she uses in making those

calculations.

      Finally, this Interrogatory is, essentially, a “contention” interrogatory, as it requires

Plaintiffs to marshal their supporting evidence—all of which derives from Diamond’s

documents. Therefore, even assuming arguendo Plaintiffs could be required to tender a

substantive response, they should not be required to do so until after they have obtained all

relevant information from Diamond regarding the company’s alleged discriminatory

pattern/practice of laying-off African-American Safety Representatives.

      Diamond is continuing to refuse to produce evidence responsive to Plaintiffs’

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discovery requests. Additionally, Diamond and its officials will not be deposed until late

January, 2020. Therefore, Plaintiffs should not be required to respond to this

Interrogatory—if at all—until after Diamond has produced its required discovery. See, e.g.,

B. Braun Med., 155 F.R.D. at 527 (citing In re Convergent Technologies Securities

Litig., 108 F.R.D. 328, 336 (N.D. Cal. 1985)) (“[T]here is considerable support for

deferring contention interrogatories until the end of the discovery period.”); accord

McCrink v. Peoples Benefit Life Ins. Co., No. CIV. A. 2:04CV01068LDD, 2004 WL

2743420, at *4 (E.D. Pa. Nov. 29, 2004); Fischer & Porter Co., 143 F.R.D. at 95;

Connecticut Indem. Co. v. Markman, No. 93-799, 1993 WL 452104, at *4 (E.D. Pa. Oct.

28, 1993). This is because “[t]o force [a party] to respond at this stage in the litigation

would require [the party] to “articulate theories of [its] case not yet fully developed.”

McCrink, 2004 WL 2743420, at *4.

             INTERROGATORY NO. 17 (to all Plaintiffs)

             Identify all positions for which you applied for
             employment with Defendants since January 1, 2015,
             the title of the position, the date you applied, how you
             were informed whether you were chosen for the
             position, and by whom.

      Thompson and Frezel did not apply for any positions with Diamond after the

company terminated them. Equally, Diamond did not offer Pickney—who did re-apply

for positions after his termination—Thompson, or Frezel re-employment after

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terminating them.

            INTERROGATORY NO. 18 (to Thompson and
            Frezel)

            Identify all facts and evidence in support of your
            allegation that Defendants were able to reassign you to
            work as a Safety Representative on other Diamond
            drilling rigs at the time your drilling rig’s contract
            expired, including any facts and evidence that there
            were vacancies for which you qualified at the time
            your employment ended, as alleged in Paragraph 36 of
            the Complaint.

      Because the information requested derives from Diamond’s own documents and

because Plaintiffs determined that Diamond could have re-assigned them based on their

counsel’s analysis of those documents, Thompson and Frezel have objected to this

Interrogatory “based on the attorney work product privilege and because the facts and

evidence responsive to this request are within Defendants’ custody and control.” See

Exhibit J and Exhibit K.

      Additionally, this is another “contention” interrogatory: it seeks “all facts and

evidence in support of [Thompson and Frezel’s] allegation that Defendants were able to

reassign [them] to work as a Safety Representative…” Therefore, for the reasons set forth

above, even assuming arguendo Plaintiffs could be required to tender a substantive

response to this Interrogatory, they should not be required to do so until after they have

obtained all relevant information from Diamond regarding the company’s alleged

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discriminatory pattern/practice of laying-off African-American Safety Representatives and

re-assigning white Safety Representatives to open positions.

              INTERROGATORY NO. 6: Identify any other civil or
              criminal lawsuits, administrative charges before the Equal
              Employment Opportunity Commission or any other federal,
              state, or local agency, claims for unemployment
              compensation, claims for workers’ compensation, Social
              Security disability claims, disability insurance claims,
              bankruptcy proceedings, garnishment proceedings, and any
              other legal proceedings filed by you or on your behalf, filed
              against you, or in which you have ever given sworn
              testimony of any kind (whether by affidavit, declaration,
              deposition, hearing, trial, or other process). For each, state
              the nature or subject matter of the proceeding, the court or
              tribunal where such proceeding is or was pending, the case
              or proceeding number, the parties to the proceeding, your
              role in the proceeding, and the status and/or disposition of
              the proceeding.

       This Interrogatory presents the same problems of relevance, overbreadth, and

harassment as Interrogatory 18. Accordingly, Plaintiffs incorporate that response herein.

       C.     Plaintiffs’ Initial Disclosures

       Finally, Diamond claims—again, falsely—that Frezel and Thompson failed to

timely serve Initial Disclosures and that Pickney’s Initial Disclosures are “deficient.”

Diamond’s complaint in this regard epitomizes the company’s efforts to hound and harass

the Plaintiffs.

       First, this Court did not admit Thompson and Frezel as Plaintiffs until June 7, 2019.


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See Dkt 48. Thereafter, the parties never conferred regarding a case management plan for

Thompson and Frezel, and this Court did not set a deadline for the parties to tender their

Initial Disclosures. Therefore, under Fed. R. Civ. P. 26(a)(1)(C), Frezel and Thompson

have not violated any Initial Disclosure deadline, as none exists.

          Second, on August 9, 2019, Thompson and Frezel served Diamond with detailed

responses to Diamond’s First Set of Requests for Production and Interrogatories, which

contain far more information than that required by Fed. R. Civ. P. 26(a). As detailed

above, all three Plaintiffs have supplemented those discovery responses. Accordingly,

Plaintiffs have tendered all the information required by FRCP 26(a).

          Third, Diamond did not serve its disclosures regarding Frezel and Thompson until

November 6, 2019—that is, less than two weeks before filing its Motion.1 Therefore,

Diamond lacks “clean hands” to complain about Frezel and Thompson’s alleged failure to

timely tender Initial Disclosures.

          Finally, Thompson and Frezel served Diamond with their Initial Disclosures on

December 16, 2019. Therefore, this issue is now moot.

          It is undisputed that Pickney served his Initial Disclosures on February 5, 2019. Like

Frezel and Thompson, Pickney subsequently tendered detailed initial and supplemental

responses to Diamond’s Interrogatories and Requests for Production, which contain far


1
    See December 17, 2019 email from Minia Bremenstul to Scott Newar (Exhibit L).
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more information than FRCP 26(a) requires. Therefore, once again, Diamond is simply

hounding and harassing Pickney.



IV. CONCLUSION

      For these reasons, Plaintiffs, Raymond Pickney, David Frezel and Otis Thompson,

respectfully request that this Court deny Diamond’s First Motion To Compel and award

them all relief to which they may be justly entitled.



                                       Respectfully submitted,


                                       /s/ Scott Newar
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                            CERTIFICATE OF SERVICE

      I hereby certify that, on December 17, 2019, I served the instant pleading on
Defendants through their legal counsel via the Southern District of Texas’ CM/ECF
system in accordance with the Federal Rules of Civil Procedure and the Local Rules of the
Southern District of Texas.

                                      /s/ Scott Newar




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